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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 14-897V
                                          (Not to be published)

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                                              *
BUNTLY WILLARD and KRISTIN WILLARD, *
Legal Representatives of a Minor Child, N.W., *
                                              *                           Filed: February 1, 2016
                      Petitioners,            *
                                              *                           Decision by Stipulation; Attorney’s
              v.                              *                           Fees & Costs
                                              *
SECRETARY OF HEALTH AND                       *
HUMAN SERVICES,                               *
                                              *
                      Respondent.             *
                                              *
*****************************

Michael Adly Baseluos, San Antonio, TX, for Petitioners

Gordon Shemin, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION1

        On September 23, 2014, Buntly Willard and Kristin Willard filed a petition on behalf of
their minor child, N.W., seeking compensation under the National Vaccine Injury Compensation
Program. On August 21, 2015, the parties filed a stipulation detailing an amount to be awarded to
Petitioners. I subsequently issued a decision finding the parties’ stipulation to be reasonable and
granting Petitioners the award outlined by the stipulation.

       On January 27, 2016, counsel for both parties filed another joint stipulation, this time in
regards to attorney’s fees and costs. The parties have stipulated that Petitioners’ counsel should

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  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, § 205, 116 Stat. 2899, 2913 (Dec. 17, 2002) (current version at 44 U.S.C. § 3501 (2014)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance
and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be
available to the public. (Id.)
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receive a lump sum of $27,166.66, in the form of a check payable to Petitioners and Petitioners’
counsel. This amount represents a sum to which Respondent does not object. In addition, and in
compliance with General Order No. 9, Petitioners have represented that they did not incur any
reimbursable costs in proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check in the amount of $27,166.66 payable jointly to
Petitioners and Petitioners’ counsel, Michael Baseluos, Esq. In the absence of a motion for review
filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation.2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
